4:18-cv-04063-SEM-TSH # 60-1   Page 1 of 4
                                                                 E-FILED
                                      Friday, 15 March, 2019 10:08:37 AM
                                            Clerk, U.S. District Court, ILCD




    APPENDIX A
                      4:18-cv-04063-SEM-TSH # 60-1            Page 2 of 4




                             UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT Of ILLINOIS
__________________________________________
                                              )
AARON O’NEAL and                              )
JOHN LAVELLE                                  )
                        Plaintiffs,           )
                 v.                           )
                                              )
JOHN BALDWIN, DIRECTOR,                       )
ILLINOIS DEPARTMENT                           )
OF CORRECTIONS, in his official and           )
individual capacity; MANUEL ROJAS,            )
in his official and individual capacity;      )    Case No. 18-CV-4063-SEM-TSH
STEPHANIE DORETHY,                            )
in her official and individual capacity;      )
FREDDIE BRITTON, in his official and          )
individual capacity; ROBERT RODRIGUEZ,        )
in his official and individual capacity;      )
JOE LAHOOD, in his official and individual    )
capacity; JOHN FROST, in his official         )
and individual capacity; STEVE GANS,          )
in his official and individual capacity;      )
MELISSA PHOENIX, in her official and          )
individual capacity                           )
                                              )
                                              )
                        Defendants.           )
                                              )


               REPLY TO PLAINTIFF’S RESPONSE TO THE MOTION
                   WITHDRAW AS PLAINTIFF’S COUNSEL AND
              TO STRIKE PLAINTIFFS’ FIRST AMENDED COMPLAINT

       Edelman, Combs, Latturner & Goodwin, LLC, Daniel A. Edelman, Cathleen M. Combs,

Cassandra P. Miller, and Mary Frances Charlton (“counsel”) hereby Reply to Plaintiff Aaron

O’Neal’s Response to their Motion to Withdraw as Counsel (“the Response”) and state:

       1.     On January 22, 2019, Plaintiff O’Neal directed counsel to cease representing him

and expressed that he would like to proceed on his initial complaint. Counsel scheduled a follow-

                                                1
                       4:18-cv-04063-SEM-TSH # 60-1             Page 3 of 4




up call with Plaintiff O’Neal on January 28, 2019 to allow him time to consider this request.

During the January 28, 2019 call, Plaintiff O’Neal reaffirmed his prior position and once against

directed counsel to cease representing him. See, Exhibits 1 and 2 (Declarations of Cassandra P.

Miller and Mary F. Charlton).

        2.      On January 29, 2019, Plaintiff Lavelle also requested that counsel cease

representing him and expressed that he no longer wanted to participate in the instant litigation as

a plaintiff. See, Exhibits 1 and 2.

        3.      Counsel is unable to submit any other information about these conversations to

the Court without violating attorney-client privilege. If the court requires an in camera hearing to

ascertain the basis of counsel’s motion and plaintiff’s objections, counsel would be glad to

participate in such a hearing.

        4.      Several of the assertions made in the Response mischaracterize counsel’s actions

and conversations between plaintiffs and counsel. These inconsistent communications and

directions demonstrate the inability to maintain an attorney-client relationship with counsel.

        WHEREFORE, Daniel A. Edelman, Cathleen M. Combs, Cassandra P. Miller, Mary

Frances Charlton, and the firm of Edelman, Combs, Latturner & Goodwin, LLC respectfully

request that this Court enter an order granting them leave to withdraw as counsel.



                                                     Respectfully submitted,

                                                     s/ Cassandra P. Miller
                                                     Cassandra P. Miller

Daniel A. Edelman
Cathleen M. Combs
Cassandra P. Miller
Mary Frances Charlton
                                                 2
                      4:18-cv-04063-SEM-TSH # 60-1             Page 4 of 4




EDELMAN, COMBS LATTURNER & GOODWIN, LLC
20 S. Clark St., Ste. 1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX)




                                CERTIFICATE OF SERVICE

         I, Cassandra P. Miller, certify that on March 15, 2019 I caused a true and accurate copy
of the foregoing document to be filed via CM/ECF system, which will send notification of such
filing to all counsel of record and mailed the foregoing document to the following parties not
registered through CM/ECF:

       Aaron O’Neal, N53022
       HILL CORRECTIONAL CENTER
       Inmate Mail/Parcels
       PO Box 1700
       Galesburg, IL 61401

       John Lavelle, #R58527
       HILL CORRECTIONAL CENTER
       Inmate Mail/Parcels
       PO Box 1700
       Galesburg, IL 61401



                                                     s/ Cassandra P. Miller
                                                     Cassandra P. Miller
Daniel A. Edelman
Cathleen M. Combs
Cassandra P. Miller
Mary Frances Charlton
EDELMAN, COMBS, LATTURNER
& GOODWIN, L.L.C.
20 S. Clark Street, Suite 1500
Chicago, Illinois 60603
(312) 739-4200
(312) 419-0379 (FAX) (may use for service of pleadings)
Email address for service: courtecl@edcombs.com


                                                3
